                                                                             0011-35-EPIE35-00464843-469668

                              UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF OHIO
                                                         EASTERN DIVISION

In re: KENNETH OWENS                                                                                      Case No.: 18-15773-AIH

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Lauren A. Helbling, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 09/26/2018.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 02/26/2019.
6) Number of months from filing or conversion to last payment: 4.
7) Number of months case was pending: 6.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 19,422.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:               $315.00
       Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                     $315.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                        $.00
       Court Costs:                                                                  $.00
       Trustee Expenses and Compensation:                                         $17.33
       Other:                                                                        $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                     $17.33

 Attorney fees paid and disclosed by debtor:                 $200.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal           Interest
Name                                        Class             Scheduled         Asserted           Allowed       Paid                Paid

ATTORNEY GENERAL STATE OF OHIO              Unsecured              416.90              NA                NA             .00                .00
CAPITAL RECOVERY SYS INC                    Unsecured              300.30              NA                NA             .00                .00
CITY OF CLEVELAND                           Unsecured            1,000.00              NA                NA             .00                .00
CITY OF CLEVELAND                           Unsecured               50.00              NA                NA             .00                .00
CITY OF CLEVELAND                           Unsecured              135.00              NA                NA             .00                .00
CUYAHOGA COUNTY TREASURER                   Secured              5,498.00              NA                NA             .00                .00
DOMINION EAST OHIO GAS                      Unsecured              900.00        7,122.85          7,122.85             .00                .00
DPU DIVISION OF WATER                       Unsecured            1,035.00        2,641.39          2,641.39             .00                .00
DPU DIVISION OF WATER                       Unsecured              500.00        1,886.52          1,886.52             .00                .00
FIRST FEDERAL CREDIT CONTROL                Unsecured               14.00              NA                NA             .00                .00
HANNAH F G SINGERMAN ESQ                    Unsecured                  NA              NA                NA             .00                .00
HUNTINGTON NATIONAL BANK                    Unsecured              700.00          493.02            493.02             .00                .00
HUNTINGTON NATIONAL BANK                    Unsecured                  NA              .00               .00            .00                .00
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                           UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION

In re: KENNETH OWENS                                                                        Case No.: 18-15773-AIH

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 Scheduled Creditors:
Creditor                                          Claim           Claim              Claim         Principal           Interest
Name                              Class           Scheduled       Asserted           Allowed       Paid                Paid

ILLUMINATING CO                   Unsecured           729.65       3,083.24          3,083.24             .00                .00
KEYBANK NA                        Unsecured              NA        3,226.81          3,226.81             .00                .00
KEYBANK NA                        Unsecured              NA              .00               .00            .00                .00
OFFICE OF CHILD SUPPORT SERVICES Unsecured               NA              .00               .00            .00                .00
OFFICE OF CHILD SUPPORT SERVICES Unsecured               NA              .00               .00            .00                .00
OFFICE OF CHILD SUPPORT SERVICES Unsecured               NA              .00               .00            .00                .00
OFFICE OF CHILD SUPPORT SVCS      Priority         11,000.00       4,587.43          4,587.43             .00                .00
OFFICE OF CHILD SUPPORT SVCS      Priority               NA       18,562.44         18,562.44             .00                .00
OFFICE OF CHILD SUPPORT SVCS      Priority               NA       11,006.47         11,006.47             .00                .00
PARMA MUNICIPAL COURT             Unsecured              NA              NA                NA             .00                .00
PROFESSIONAL FINANCIAL SERVICES Unsecured           1,279.00             NA                NA             .00                .00
PROFESSIONAL FINANCIAL SVCS OF OHIO
                                 Secured            6,000.00       7,474.13          7,474.13          80.46             217.21
SANTANDER CONSUMER USA INC        Unsecured              NA       12,749.56         12,749.56             .00                .00
SANTANDER CONSUMER USA INC        Unsecured              NA              .00               .00            .00                .00




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In re: KENNETH OWENS                                                                                     Case No.: 18-15773-AIH

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                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                     Claim              Claim             Claim         Principal           Interest
Name                                      Class              Scheduled          Asserted          Allowed       Paid                Paid

WILLOUGHBY MUNICIPAL COURT                Unsecured                  NA               NA                NA             .00                .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal           Interest
                                                                                                  Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00            .00                .00
     Mortgage Arrearage:                                                                               .00            .00                .00
     Debt Secured by Vehicle:                                                                     7,474.13          80.46             217.21
     All Other Secured:                                                                                .00            .00                .00
 TOTAL SECURED:                                                                                   7,474.13          80.46             217.21

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                 34,156.34             .00                .00
     Domestic Support Ongoing:                                                                         .00             .00                .00
     All Other Priority:                                                                               .00             .00                .00
 TOTAL PRIORITY:                                                                                 34,156.34             .00                .00

 GENERAL UNSECURED PAYMENTS:                                                                     31,203.39             .00                .00

 Disbursements:
       Expenses of Administration:                                                                  $17.33
       Disbursements to Creditors:                                                                 $297.67
 TOTAL DISBURSEMENTS:                                                                                                               $315.00

   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
   foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
   The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:     03/29/2019                                    By:   /s/Lauren A. Helbling
                                                                                Standing Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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